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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC.
Case No. 1:20-cv-08786-GHW

Plaintiff, DECLARATION OF
TIMOTHY J. FIERST, ESQ. IN
SUPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF
DEFAULT JUDGMENT
-against-
[Fed.R.Civ.P.55 (b) (2)]

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

Defendants.
x

 

TIMOTHY J. FIERST, an attorney at law duly admitted to practice before the United States
District Court for the Southern District of New York hereby declares the following to be true
under penalties of perjury pursuant to 28 U.S.C. § 1746:.

de I am the principal attorney of The Fierst Law Group P.C., attorneys for the
Plaintiff in this action, K & S Produce, Inc. (the “Plaintiff’).

2. I respectfully submit this Declaration in support of Plaintiffs motion for a default
judgment pursuant to Fed.R.Civ.P. 55(b)2 and Local Rule 55.2(b) against the defendants
100 BOAD STREET, LLC a/k/a ESSEN FOOD (“100 Broad”), ESSEN22 LLC a/k/a ESSEN
FOOD (“Essen22”), JOHN BYUN (John Byun”), CHONG WON BYUN (“Chong Won Byun”)
and WILLIAM BYUN (“William Byun”), individually and in any Corporate Capacity, jointly

and severally (K & S, John Byun, Chong Won Byun and William Byun are collectively referred
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to as the Defendants).Upon information and belief none of the Defendants are an infant or
incompetent person, and are not in military service.

3. Subject matter jurisdiction is proper in this District as this case involves the
Plaintiff asserting claim against the Defendants under the Perishable Agricultural Commodities
Act (PACA”) [7 U.S.C. §499e, ef. seq.].

FACTUAL BACKGROUND

4, As shown within the Declaration of Lee Pakulsky dated February 16, 2021, the
Authorized Agent of the Plaintiff submitted in support of this motion (the “Lee Declaration”),
between on or about December 24, 2018 through and including March 13, 2020, the Plaintiff
sold and shipped various perishable agricultural commodities to 100 Broad. Between on or about
December 24, 2018 through and including March 5, 2020 the Plaintiff sold and shipped various
perishable agricultural commodities to Essen22. See {10 to the Lee Declaration.

5. In connection with the perishable agricultural commodities, the Plaintiff invoiced
the Defendants for the amounts due therefor, setting forth in detail each unpaid sale and
indicating a sum certain due and owing by the Defendants in the total amount of $525,715.27, as
follos:

100 Broad: $198,778.90
Essen22: $326,936.37
See Ex. A to the Lee Declaration.

6. The Defendants failed and refused and continue to fail and refuse to pay Plaintiff
for the produce purchased by the Defendants. No part of the past due sum of $525,715.27 has
been paid.

7. Therefore, this action was commenced by the filing of a Complaint on October 22, 2020,
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and an electronic Summons was issued on October 22, 2020 in order to enforce the trust
provision of the Perishable Agricultural Commodities Act (“PACA”), 7 U.S.C. §499a et. seq.
A copy of the Complaint is annexed hereto as Exhibit “A.”

8. The Summons and Complaint were served upon the Defendants on December 1
2020. A copy of the Affidavits of Service is annexed hereto as Exhibit “B”.

9, The Defendants have not answered the Complaint, nor have they appeared in this
action to date. Therefore, a Clerk’s Certificate of Default for each Defendant was issued on
February 8, 2021, copies which are annexed hereto as Exhibit “C”.

10. Accordingly, the Plaintiff is entitled to Judgment against the defendant 100 Broad
in the amount of $198,778.90, and against Essen 22 in the amount of $326,936.37.

11. Additionally, the Plaintiff is entitled to Judgment against the defendants John
Byun, Chon Won Byun, and William Byun jointly and severally, in the amount demanded in the
Complaint to wit, $525,715.27.

12. This sum is fixed and readily ascertainable pursuant to Plaintiff's invoices
confirming the sale and shipment of said produce and contained in the Lee Declaration filed
simultaneously herewith.

13. I have reviewed all documents relative to the Plaintiff's claim as described herein
and as alleged in Plaintiff's Complaint, including invoices. Based on said review, I have
confirmed that Plaintiff's invoices contain all language necessary to preserve its PACA trust
rights as required by PACA, and therefore, I believe that the Plaintiff fully complied with all
requirements 7 U.S.C. §499e, (c ) (4) to preserve its PACA trust rights in the principal amount of

$525,715.27.
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14. I am informed and believe that the Defendants are not infants or incompetent
persons or in military service or otherwise exempted under the Soldiers’ and Sailors’ Civil Relief
Act of 1940. (50 App. U.S.C. §520).

15. For the foregoing reasons, and as set forth in Plaintiff's Memorandum of Law, the
Plaintiff requests that the Court direct entry of a final judgment by default against the defendant
100 Broad in the amount of $198,778.90 and final judgment by default against the defendant
Essen 22 in the amount of $326,936.37.

16. Additionally, for the foregoing reasons, and as set forth in Plaintiff's
Memorandum of Law, the Plaintiff requests that Court direct entry of a final judgment by default
against the defendants John Byun, Chon Won Byun, and William Byun jointly and severally, in
the amount of $525,715.27, all which qualifies for trust protection under the trust provisions of
Perishable Agricultural Commodities Act (PACA”) [7 U.S.C. §499e, et seq.]

17: Additionally, the Defendants upon information and belief, have remained in
business and upon information and belief continue to use what are otherwise PACA trust funds
to pay other vendors to the detriment of Plaintiff's rights. The danger remains that the
Defendants will continue to dissipate the PACA trust assets in violation of Plaintiff's rights.

18. To That end, in order to protect the Plaintiff's rights in and to the PACA trust
assets which are in the Defendants’ control, it is respectfully requested that the stay imposed by
Fed. R. Civ. P. 62 (a) be vacated and Plaintiff be permitted to immediately execute upon the
judgment granted herein.

Executed this 16" day of February 2021.

  

By:

 

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TIMOTHY. FIERST
